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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


   ELIZABETH SINES, et al.,

                       Plaintiffs,
   v.
                                                          Civil Action No. 3: 17-cv-00072-NKM
   JASON KESSLER, et al.,
                                                          JURY TRIAL REQUESTED
                      Defendants.


                         PLAINTIFFS’ DEPOSITION DESIGNATIONS

         Plaintiffs, by and through their counsel, respectfully submit the following designations of

 deposition testimony.

         Plaintiffs reserve the right to: (a) use audio and/or video deposition excerpts and/or create

 demonstrative exhibits; (b) use any deposition designations listed by Defendants; (c) supplement

 these designations with those of any persons listed as trial witnesses by any party in the event

 that such witnesses are not available to testify at trial or are not called at trial; (d) designate

 additional portions of deposition transcripts for the purpose of authentication of documents, if

 required; (e) designate any deposition testimony taken after the date of these designations; and

 (f) use any and all deposition and/or trial testimony, whether or not designated, for cross-

 examination, impeachment, or rebuttal purposes.
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  Dated: October 4, 2021                     Respectfully submitted,

                                             /s/ David E. Mills
                                             David E. Mills (pro hac vice)
                                             Joshua M. Siegel (VSB 73416)
                                             Caitlin B. Munley (pro hac vice)
                                             Samantha A Strauss (pro hac vice)
                                             Alexandra Eber (pro hac vice)
                                             COOLEY LLP
                                             1299 Pennsylvania Avenue, NW
                                             Suite 700
                                             Washington, DC 20004
                                             Tel: (202) 842-7800
                                             Fax: (202) 842-7899
                                             dmills@cooley.com
                                             jsiegel@cooley.com
                                             cmunley@cooley.com
                                             sastrauss@cooley.com
                                             aeber@cooley.com

 Of Counsel:

  Roberta A. Kaplan (pro hac vice)           Karen L. Dunn (pro hac vice)
  Julie E. Fink (pro hac vice)               William A. Isaacson (pro hac vice)
  Gabrielle E. Tenzer (pro hac vice)         Jessica E. Phillips (pro hac vice)
  Joshua A. Matz (pro hac vice)              Arpine S. Lawyer (pro hac vice)
  Michael L. Bloch (pro hac vice)            Giovanni J Sanchez (pro hac vice)
  Emily C. Cole (pro hac vice)               Agbeko C. Petty (pro hac vice)
  Alexandra K. Conlon (pro hac vice)         PAUL WEISS RIFKIND WHARTON &
  Jonathan R. Kay (pro hac vice)             GARRISON LLP
  Benjamin D. White (pro hac vice)


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  Yotam Barkai (pro hac vice)               2001 K Street, NW
  KAPLAN HECKER & FINK, LLP                 Washington, DC 20006-1047
  350 Fifth Avenue, Suite 7110              Telephone: (202) 223-7300
  New York, NY 10118                        Fax: (202) 223-7420
  Telephone: (212) 763-0883                 kdunn@paulweiss.com
  rkaplan@kaplanhecker.com                  wisaacson@paulweiss.com
  jfink@kaplanhecker.com                    jphillips@paulweiss.com
  gtenzer@kaplanhecker.com                  alawyer@paulweiss.com
  jmatz@kaplanhecker.com                    gsanchez@paulweiss.com
  mbloch@kaplanhecker.com                   apetty@paulweiss.com
  ecole@kaplanhecker.com
  aconlon@kaplanhecker.com                  Makiko Hiromi (pro hac vice)
  jkay@kaplanhecker.com                     Nicholas A. Butto (pro hac vice)
  bwhite@kaplanhecker.com                   PAUL WEISS RIFKIND WHARTON &
  ybarkai@kaplanhecker.com                  GARRISON LLP
                                            1285 Avenue of the Americas
  Alan Levine (pro hac vice)                New York, NY 10019-6064
  Daniel P. Roy III (pro hac vice)          Telephone: (212) 373-3000
  Amanda L. Liverzani (pro hac vice)        Fax: (212) 757-3990
  COOLEY LLP                                mhiromi@paulweiss.com
  55 Hudson Yards                           nbutto@paulweiss.com
  New York, NY 10001
  Telephone: (212) 479-6260                 Katherine M. Cheng (pro hac vice)
  Fax: (212) 479-6275                       BOIES SCHILLER FLEXNER LLP
  alevine@cooley.com                        55 Hudson Yards, 20th Floor
  droy@cooley.com                           New York, NY 10001
  aliverzani@cooley.com                     Telephone: (212) 446-2300
                                            Fax: (212) 446-2350
  J. Benjamin Rottenborn (VSB No. 84796)    kcheng@bsfllp.com
  Woods Rogers PLC
  10 South Jefferson Street, Suite 1400     Robert T. Cahill (VSB 38562)
  Roanoke, Va. 24011                        COOLEY LLP
  Tel: (540) 983-7600                       11951 Freedom Drive, 14th Floor
  Fax: (540) 983-7711                       Reston, VA 20190-5656
  brottenborn@woodsrogers.com               Telephone: (703) 456-8000
                                            Fax: (703) 456-8100
                                            rcahill@cooley.com


                                            Counsel for Plaintiffs




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                                      CERTIFICATE OF SERVICE

        I hereby certify that on October 4, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt                                Bryan Jones
  David L. Hauck                                         106 W. South St., Suite 211
  David L. Campbell                                      Charlottesville, VA 22902
  Duane, Hauck, Davis & Gravatt, P.C.                    bryan@bjoneslegal.com
  100 West Franklin Street, Suite 100
  Richmond, VA 23220                                     Counsel for Defendants Michael Hill,
  jgravatt@dhdglaw.com                                   Michael Tubbs, and League of the South
  dhauck@dhdglaw.com
  dcampbell@dhdglaw.com                                  James E. Kolenich
                                                         Kolenich Law Office
  Counsel for Defendant James A. Fields, Jr.             9435 Waterstone Blvd. #140
                                                         Cincinnati, OH 45249
  W. Edward ReBrook                                      jek318@gmail.com
  The ReBrook Law Office
  6013 Clerkenwell Court                                 Elmer Woodard
  Burke, VA 22015                                        5661 US Hwy 29
  edward@rebrooklaw.com                                  Blairs, VA 24527
  rebrooklaw@gmail.com                                   isuecrooks@comcast.net

  Counsel for Defendants National Socialist Movement,    Counsel for Defendants Jason Kessler, Nathan
  Nationalist Front, Jeff Schoep, Matthew Heimbach,      Damigo, and Identity Europa, Inc. (Identity Evropa)
  Matthew Parrott and Traditionalist Worker Party

  Joshua Smith Esq.
  Smith LLC
  807 Crane Ave.
  Pittsburgh, PA 15216
  joshsmith2020@gmail.com

  Counsel for Matthew Heimbach, Matthew Parrott and
  Traditionalist Worker Party

        I hereby certify that on October 4, 2021, I also served the foregoing upon following pro
 se defendants, via electronic mail, as follows:

  Richard Spencer                                        Vanguard America
  richardbspencer@gmail.com                              c/o Dillon Hopper
  richardbspencer@icloud.com                             dillon_hopper@protonmail.com

  Robert Ray                                             Elliott Kline
  azzmador@gmail.com                                     eli.f.mosley@gmail.com
                                                         deplorabletruth@gmail.com
                                                         eli.r.kline@gmail.com




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        I hereby certify that on October 4, 2021, I also served the foregoing upon following pro
 se defendant, via first class mail, as follows:

 Christopher Cantwell
 Christopher Cantwell 00991-509
 USP Marion
 U.S. Penitentiary
 P.O. Box 2000
 Marion, IL 62959

                                                     /s/ David E. Mills
                                                     David E. Mills (pro hac vice)




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